Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20    PageID.977   Page 1 of 11




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

   UNITED STATES OF AMERICA

               Plaintiff,                      Criminal No. 13-CR-20349

                                               HON. ARTHUR J. TARNOW
   v.

   D-1 RAJESH DOSHI,

               Defendant.

    _____________________________________________________________

              DEFENDANT’S EMERGENCY MOTION FOR
                     COMPASSIONATE RELEASE
    _____________________________________________________________


         NOW COMES Defendant, by and through his attorney, Anjali Prasad,

   and respectfully requests that the Court order his compassionate release

   under 18 U.S.C. § 3582(c)(1)(A)(i), as amended by § 603(b)(1) of the First

   Step Act of 2018, Pub. L. 115-391, 132 Stat. 5194, 5239 (Dec. 21, 2018).

                                               Respectfully Submitted,


                                               /s/ Anjali Prasad
                                               ANJALI PRASAD (P75771)
                                               Prasad Legal, PLLC
                                               117 W. Fourth Street, Suite 201
                                               Royal Oak, MI 48067
                                               (248) 733-5006
                                               aprasad@prasadlegal.com
   April 28, 2020
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20     PageID.978   Page 2 of 11




                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN

   UNITED STATES OF AMERICA

               Plaintiff,                      Criminal No. 13-CR-20349

                                               HON. ARTHUR J. TARNOW
   v.

   D-1 RAJESH DOSHI,

               Defendant.

    _____________________________________________________________

    BRIEF IN SUPPORT OF DEFENDANT’S EMEREGENCY MOTION
                 FOR COMPASSIONATE RELEASE

    _____________________________________________________________

         The First Step Act (“FSA”) expressly permits Defendant Rajesh

   Doshi to move this Court for compassionate release from FCI Morgantown

   due to his age and chronic health conditions, which put him at a higher risk

   of contracting COVID-19 and falling severely ill.         See 18 U.S.C. §

   3582(c)(1)(A)(i). Under the amended statute, a district court can reduce a

   sentence for “extraordinary and compelling reasons” in two circumstances:

   (i) upon motion of the Director of the Bureau of Prisons; or (ii) upon motion

   of the defendant after the defendant has fully exhausted all administrative

   rights to appeal a failure of the Bureau of Prisons to bring a motion on the

   defendant’s behalf or the lapse of 30 days from the receipt of such a request

                                        2
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20    PageID.979    Page 3 of 11




   by the warden of the defendant’s facility, whichever is earlier. 18 U.S.C. §

   3582(c)(1)(A). See United States v. Cantu, No. 05-cr-458, 2019 U.S. Dist.

   LEXIS 100923, at *6-12 (S.D. Tex. June 17, 2019) (“[u]nder the newly

   amended § 3582(c)(1)(A) [defendant] has standing to bring this motion

   “because more than 30 days elapsed between his reduction-in-sentence

   request to the warden and a response”).

         The Court may also waive the exhaustion requirement if a recognized

   exception applies. See, e.g., United States v. Coles, No. 18-cr-20254, 2020

   U.S. Dist. LEXIS 67591 (E.D. Mich. April 17, 2020); Miller v. United

   States, No. CR 16-20222-1, 2020 U.S. Dist. LEXIS 62421 (E.D. Mich. April

   9, 2020); United States v. Zukerman, No. 16 CR. 194 (AT), 2020 U.S. Dist.

   LEXIS 59588 (S.D.N.Y. April 3, 2020); United States v. McCarthy, No.

   3:17-CR-0230 (JCH), 2020 U.S. Dist. LEXIS 61759 (D. Conn. Apr. 8,

   2020); United States v. Perez, No. 17 CR. 513-3 (AT), 2020 U.S. Dist.

   LEXIS 57265 (S.D.N.Y. Apr. 1, 2020). These exceptions include a finding

   that exhaustion would be futile or would subject the individual to undue

   prejudice. Miller, No. CR 16-20222-1, 2020 U.S. Dist. LEXIS 62421 at *2-

   3 (holding these exceptions to the exhaustion requirement were present and

   granting petitioner’s release) (quoting Washington v. Barr, 925 F.3d 109,

   118 (2d Cir. 2019)).



                                        3
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20   PageID.980   Page 4 of 11




         Both exceptions to the exhaustion requirement apply here. First, on

   March 27, 2020, Doshi moved the Court to recommend BOP place him in

   home confinement for the remainder of his sentence, to protect him from

   contracting or transmitting COVID-19. (ECF No. 143). The Court granted

   defendant’s motion and made this recommendation to BOP pursuant to 18

   U.S.C. §3642. (ECF No. 145). Within 72 hours of the Court’s Order, BOP

   flatly stated, “Doshi would not be granted home confinement at this time.”

   (ECF No. 146). Doshi and his family members were informed of the same

   directly by BOP. Thus, Doshi’s request for early release from prison based

   on the COVID-19 pandemic fell on deaf ears. Requiring him to submit a

   second request, merely reiterating what the Court’s order already

   recommended, would be futile. See Samy v. United States, No. CR 16-

   20610-1, 2020 U.S. Dist. LEXIS 66864 (E.D. Mich. April 16, 2020) (finding

   waiver where BOP “has already determined the issue”); Miller v. United

   States, No. CR 16-20222-1, 2020 U.S. Dist. LEXIS 62421 (E.D. Mich. April

   9, 2020) (finding the same); United States v. Gonzalez, No. 2:18-CR-0232-

   TOR-15, 2020 U.S. Dist. LEXIS 56422 (E.D. Wash. Mar. 31, 2020) (finding

   the same).

         Second, any further delay in releasing Doshi under the circumstances

   would unduly prejudice him. COVID-19 is spreading at rapid and



                                       4
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20         PageID.981     Page 5 of 11




   unprecedented rates. On March 26, 2020, BOP reported only ten inmate

   cases and eight staff cases of COVID-19 across all BOP facilities. One

   month later, on April 27, 2020, there are 799 federal inmates and 319 BOP

   staff who have confirmed cases of COVID-19.1 These number are likely

   higher, as testing is only administered to inmates that manifest symptoms.

   See, e.g., In the Matter of the Extradition of Manrique, 2020 U.S. Dist.

   16397, at *2 (N.D. Cal. Mar. 19, 2020) (“screening people based on

   observable symptoms is just a game of catch up”).

         Time is of the essence. Requiring Doshi to exhaust administrative

   remedies, given his vulnerability to COVID-19 and the exigency of a rapidly

   advancing pandemic, could result in catastrophic health consequences and

   irreparable harm. See United States v. Coles, No. 18-cr-20254, 2020 U.S.

   Dist. LEXIS 67591 (E.D. Mich. April 17, 2020); Miller v. United States, No.

   CR 16-20222-1, 2020 U.S. Dist. LEXIS 62421 (E.D. Mich. April 9, 2020);

   United States v. Zukerman, No. 16 CR. 194 (AT), 2020 U.S. Dist. LEXIS

   59588 (S.D.N.Y. April 3, 2020); United States v. Wilson Perez, No. 17-CR-

   51303 (AT), 2020 U.S. Dist. LEXIS 57265 AT *3 (S.D.N.Y. APR. 1, 2020)

   (waiving exhaustion requirement where defendant already at “significant

   risk of suffering catastrophic health consequences” due to COVID-19

   1
         BOP Coronavirus Daily Count available at https://www.bop.gov/coronavirus/



                                           5
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20          PageID.982      Page 6 of 11




   pandemic). Accordingly, the Court should waive the exhaustion requirement

   here because, as demonstrated by BOP’s blunt response to the Court’s

   judicial recommendation for Doshi’s home confinement, exhaustion in this

   case would prove futile. And, it could also prove fatal.

          Conditions of confinement create a serious risk for the spread of

   COVID-19, even among a healthy population.2 Although BOP may be doing

   everything in its power to slow the spread of COVID-19 within its facilities,

   the high density of prison populations makes federal prisons ideal

   transmission grounds for the virus. See, e.g. Kimberly Kindy, An Explosion

   of Coronavirus Cases Cripples a Federal Prison in Louisiana, THE

   WASHINGTON POST (March 29, 2020). See also Claudia Lauer & Colleen

   Long, US Prisons, Jails On Alert for Spread of Coronavirus, Associated

   Press (Mar. 7, 2020). Moreover, in jails, “[t]he probability of transmission

   of potentially pathogenic organisms is increased by crowding, delays in

   medical evaluation and treatment, rationed access to soap, water, and clean

   laundry, [and] insufficient infection-control expertise.”         Joseph A. Bick




   2
          Interim Guidance on Management of Coronavirus Disease 2019 (COVID-19) in
   Correctional and Detention Facilities, CENTER FOR DISEASE CONTROL (March 23,
   2020),      https://www.cdc.gov/coronavirus/2019-ncov/community/correction-detention/
   guideance-correctional-detention.html.



                                            6
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20           PageID.983     Page 7 of 11




   (2007), Infection Control in Jails and Prisons, Clinical Infections Diseases

   45(8): 1047-1055, https://academic.oup.com/cid/article/45/8/1047/344842.

         Doshi squarely fits the definition of an individual who has a higher

   risk of contracting and falling severely ill from COVID-19. Doshi turns 65

   in October, and suffers from a myriad of health conditions, including

   diabetes, hypertension, osteoporosis, degenerative arthritis, and other

   musculoskeletal conditions. Prior to his November 2018 surrender to BOP,

   Doshi was prescribed the following medications:              Alendronate Sodium,

   aspirin, atorvastatin (LIPITOR), Biotin, gabapentin (NEURONTIN),

   lisinopril (PRINIVIL ZESTRIL), loratadine (CLARITIN), metformin

   (GLUCOPHAGE), Omega-3 Fatty Acids, omeprazole (PRILOSEC),

   ranitidine     (ZANTAC),     sitagliptin       (JANUVIA),     and   LORAZEPAM

   (ATIVAN). See Exhibit A (Doshi Medical Notes, 7/11/2018, filed under

   seal). In BOP custody, Doshi receives these prescription medications for the

   following      ailments:   Losartan   (hypertension),       Metformin     (diabetes),

   Albuterol Inhaler (asthma), Lipitor (coronary artery syndrome and

   hyperlipidemia), Aspirin (coronary artery syndrome), Cymbalata (peripheral

   neuropathy and depression), Flomax (prostate hypertrophy). Doshi reports

   that he is permitted to keep his inhaler with him, and that he uses it multiple

   times daily.



                                              7
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20               PageID.984      Page 8 of 11




          In short, Doshi is not a healthy individual. His poor health was well-

   documented in Doshi’s PSIR (See PSIR, Paragraph 4), and his medical

   problems were at issue at the time of sentencing, See, e.g. ECF No. 117, p. 8,

   when the Court made a recommendation that Doshi serve his time at FMC

   Lexington or FCI Morgantown. See ECF No. 121.                        Given the highly

   infectious nature of COVID-19, the failure of BOP to stop the spread (in

   spite of its best efforts), the inability of Doshi to practice any of the hygienic

   and social distancing techniques that CDC has advised to prevent rapid

   transmission, and the fact that his age and medical history render him at

   higher risk, this Court should find Doshi’s legitimate medical risk is a

   sufficiently extraordinary and compelling basis to grant compassionate

   release. See U.S.C. §3582(c).3

          Furthermore, the persuasive precedent for granting compassionate

   release amidst the COVID-19 pandemic is overwhelming. United States v.

   Sawicz, Case No. 08-cr-287 (ARR) 2020 U.S. Dist. LEXIS 64418, at *6

   (E.D. N.Y. April 10, 2020) (COVID-19 pandemic, combined with

   defendant’s particular vulnerability to complications from COVID-19


   3
          The Sentencing Commission has provided guidance about what constitutes
   “extraordinary and compelling reasons” in Section 1B1.13 of the Sentencing Guidelines.
   U.S.S.G. §1B1.13. These reasons are classified in four categories: (1) the defendant’s
   medical condition; (2) the defendant’s age; (3) family circumstances; and (4) additional
   reasons “other than, or in combination with” the first three elements. Id. at cmt. N. 1(A)-
   (D).

                                               8
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20        PageID.985    Page 9 of 11




   because of his hypertension constitutes an “extraordinary and compelling”

   reason for his compassionate release”); United States v. Williams, Case No.

   04-cr-095/MCR, 2020 U.S. Dist. LEXIS 63824, at *7 (N.D. Fla. April 1,

   2020) (“[A]n outbreak of COVID-19 in Williams’ facility would likely have

   fatal consequences for him. Based on these facts, the Court finds that

   Williams’ deterioration in physical health is sufficiently serious to satisfy the

   medical criteria for a reduction in sentence.”); United States v. Gonzalez,

   No. 2:18-CR-0232-TOR-15, 2020 U.S. Dist. LEXIS 56422, at *3 (E.D.

   Wash. Mar. 31, 2020) (“Defendant is the most susceptible to the devastating

   effects of COVID-19. She is in the most susceptible age category (over 60

   years of age) and her COPD and emphysema make her particularly

   vulnerable … compassionate release granted.”); United States v. Campagna,

   No. 16 Cr. 78-01 (LGS), 2020 U.S. Dist. LEXIS 54401, at *3 (S.D.N.Y.

   Mar. 27, 2020) (“Defendant’s compromised immune system, taken in

   concert with the COVID-19 public health crisis, constitutes an

   extraordinarily and compelling reason to modify Defendant’s sentence on

   the grounds that he is suffering from a serious medical condition that

   substantially diminishes his ability to provide self-care within the

   environment of the RCC.”); United States v. Muniz, No. 4:09-CR-0199-1,

   2020 U.S. Dist. LEXIS 59255, at *2 (S.D. Tex. Mar. 30, 2020) (“Because



                                          9
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20     PageID.986    Page 10 of 11




    Defendant is at high-risk for severe illness from COVID-19 and because

    inmates in detention facilities are particularly vulnerable to infection, the

    Court finds that Defendant has demonstrated an extraordinary and

    compelling reason for compassionate release.”).

          There is no question Doshi’s continued incarceration under the current

    circumstances places himself as well as FCI Morgantown at higher risk

    every day. See United States v. Garlock, No. 19-CR-00418-VC-1 (N.D. Cal.

    Mar. 25, 2020 (recognizing health risks to inmates, guards, and community

    at large created by large prison populations). To the extent the government

    argues that Doshi may be “jumping the line” (as it did when it opposed

    Doshi’s judicial request for home confinement), there is no reason any

    prisoner would lose access to home confinement should Doshi be released.

    To the contrary, during this unprecedented pandemic, institutions with large

    prison populations should welcome a decrease in number of high-risk

    individuals confined therein. See Basank v Decker, No. 20 CIV. 2518 (AT)

    (S.D.N.Y. Mar. 26, 2020) (holding public health and safety are served best

    by rapidly decreasing number of individuals in confined conditions). Nor

    may the government claim releasing Doshi will somehow put a strain on

    local law enforcement and/or government personnel from having to watch

    over Doshi while he is confined to his home, since this Court has expressly



                                         10
Case 2:13-cr-20349-AJT-LJM ECF No. 147 filed 04/28/20        PageID.987    Page 11 of 11




    found, “Doshi presents a de minimis risk of recidivism.” (ECF. No. 145,

    Order Granting Defendant’s Motion for a Judicial Recommendation to

    Home Confinement).       Thus, Doshi’s release is “consistent with applicable

    policy statements issued by the [United States] Sentencing Commission.”

    18 U.S.C. § 3582(c)(1)(A). See 18 U.S.C. § 3553(a) (listing factors to be

    considered by sentencing court).

                                   CONCLUSION

          For the foregoing reasons, Defendant respectfully requests this

    Honorable Court grant his Motion for Compassionate Release.

                                                   Respectfully Submitted,

                                                   /s/ Anjali Prasad
                                                   ANJALI PRASAD (P75771)
                                                   Prasad Legal, PLLC
                                                   117 W. Fourth Street, Suite 201
                                                   Royal Oak, MI 48067
                                                   (248) 733-5006
                                                   aprasad@prasadlegal.com
    Dated: April 28, 2020


                           CERTIFICATE OF SERVICE

            I hereby certify that I electronically filed the foregoing paper with the
    Clerk of the Court using the ECF system that will send notification of such
    filing to all registered parties.


                                                         /s/ Anjali Prasad
                                                         Anjali Prasad (P75771)



                                           11
